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 5
 6
 7
 8                    IN THE UNITED STATES DISTRICT COURT
 9                  FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,     )      Case No. 07-232 DLJ
                                   )
12             Plaintiff,          )
                                   )      GOVERNMENT’S MOTION TO DISMISS
13        v.                       )
                                   )
14   DAVID JAMES McCABE,           )
                                   )
15             Defendant.          )
     ______________________________)
16
17
18        Pursuant to Rule 48 of the Federal Rules of Criminal Procedure,
19   the United States, by and through its undersigned attorney, moves
20   the Court for an order dismissing the charges against David James
21   McCabe, as listed in the superseding indictment in Case Number S-07-
22   232 DLJ, filed on August 30, 2007.       The defendant is not in custody.
23
24   DATE: December 4, 2007                   McGREGOR W. SCOTT
                                              United States Attorney
25
26                                      By /s/ Michael M. Beckwith
                                           MICHAEL M. BECKWITH
27                                         Assistant U.S. Attorney
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 1                                   O R D E R
 2
 3   APPROVED AND SO ORDERED:
 4
 5   DATED: December 5, 2007       __________________________________
                                     UNITED STATES DISTRICT JUDGE
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